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                                EXHIBIT E
                                  Footnote 12
    Business Insider: “Top WHO scientist says vaccinated travelers should still
 quarantine, citing lack of evidence that COVID-19 vaccines prevent transmission”
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    HOME        NEWS


    Top WHO scientist says vaccinated travelers should still
    quarantine, citing lack of evidence that COVID-19 vaccines
    prevent transmission

    Thomas Colson Dec 29, 2020, 3:55 AM




    A COVID-19 vaccination clinic in Newark, Delaware, on December 21. REUTERS/Leah Millis



        The World Health Organization's chief scientist, Dr. Soumya Swaminathan, has
        urged people to be cautious with their behavior even after receiving a COVID-19
        vaccine.
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        Swaminathan told a Monday briefing there was not yet enough evidence from
        vaccine trials "to be confident that it's going to prevent people from actually
        getting the infection and therefore being able to pass it on."


        She added that at least for now, even people who had received the vaccine should
        still quarantine when traveling to countries with lower coronavirus transmission
        rates.


        Vaccine researchers in the US are trying to determine whether vaccines can stop
        the virus from spreading or are effective only at preventing symptomatic cases of
        COVID-19.


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    The World Health Organization is urging even people who have received a
    coronavirus vaccine to quarantine when they travel because there is not yet evidence
    that vaccines prevent people from transmitting the virus.


    WHO's chief scientist, Dr. Soumya Swaminathan, noted on Monday that the agency
    had not established whether the COVID-19 vaccines being administered across the US
    and in Europe prevented people from getting the virus and passing it to others.


    "At the moment I don't believe we have the evidence of any of the vaccines to be
    confident that it's going to prevent people from actually getting the infection and
    therefore being able to pass it on," Swaminathan told a virtual briefing, in comments
    reported by Axios.


    Swaminathan was responding to a question about whether vaccinated people should
    still be required to quarantine when traveling to countries with lower transmission
    rates.




    "I think until we know more, we need to assume that people who have been
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    vaccinated   G Eneed to take the same precautions until there is a certain level of
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    immunity that's been built in the population," she said.

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    Business Insider reported last month that vaccine researchers in the US hoped to
    determine whether vaccines could stop the virus from spreading or whether they
    prevented only symptomatic cases of COVID-19.


    The answer to that question is significant, as a vaccine that prevents so-called
    asymptomatic transmission would help protect more than just the people who
    receive the shots.


    Dr. Larry Corey, a virologist who is planning one study to answer that question, said
    last month that the study still needed funding as well as cooperation from the
    pharmaceutical companies that had developed effective vaccines.




    Three vaccines in the West have been found effective in large trials in preventing
    recipients from becoming ill or seriously ill with COVID-19.


    Two of those, the Pfizer-BioNTech vaccine and the Moderna vaccine, are already
    being administered in the US and in Europe. The third, developed by AstraZeneca
    and Oxford University, is likely to receive approval in the UK within days, according
    to H OM
       the   E PA G ETimes.
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    Moderna's chief medical officer, Tal Zaks, said last month that he believed it was
    likely the vaccine would prevent transmission but warned that there was not yet
    "sufficient evidence" of it.


    "When we start the deployment of this vaccine we will not have sufficient concrete
    data to prove that this vaccine reduces transmission," he told "Axios on HBO."




    "I think it's important that we don't change behavior solely on the basis of
    vaccination."



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